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         [Submitting Counsel on Signature Page]
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 8                                   UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10

11       IN RE: SOCIAL MEDIA ADOLESCENT                Case No. 4:22-MD-03047-YGR
         ADDICTION/PERSONAL INJURY
12       PRODUCTS LIABILITY LITIGATION                 MDL No. 3047
13

14       This Document Relates to:                     [PROPOSED] AMENDED STIPULATED
                                                       IMPLEMENTATION ORDER
15       ALL PERSONAL INJURY ACTIONS                   GOVERNING ADOPTION OF MASTER
                                                       COMPLAINT (PERSONAL INJURY) AND
16                                                     SHORT-FORM COMPLAINTS FOR
                                                       FILED CASES
17

18   I.          APPLICABILITY AND SCOPE OF ORDER

19               1.   This Implementation Order (“Order”) applies only to Plaintiffs who have asserted

20   or seek to assert personal injury claims related to the use of one or more of Defendants’ social

21   media apps1 (“Personal Injury Plaintiffs”) consistent with the scope of the October 11, 2022

22   Transfer Order initiating these MDL proceedings.2 No personal injury claims may be asserted in

23   current or future filed cases in this MDL other than pursuant to the terms of this Order. This Order

24   applies to cases directly filed in this MDL and those transferred, removed, or otherwise assigned to

25   this proceeding (collectively, “this MDL proceeding”). This Order is binding on all Parties and

26   1
       Plaintiffs allege in the Master Complaint and their proposed Short Form Complaint that the
27   social media apps are “products.” Nothing in this Case Management Order or in the template
     Short Form Complaint shall be construed as an admission by any Defendant that their social
28   media platform(s) are products for purposes of any claim asserted by any Plaintiff.
     2
       This Order does not apply to government entity cases.
                                                       1

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 1   their counsel in all such cases. This Order is not intended to alter the applicable provisions of the
 2   Federal Rules of Civil Procedure or the Local Rules of this Court, except as specified herein or in
 3   any subsequent Pretrial Order. Defendants preserve all defenses, including jurisdictional and venue
 4   challenges, to any claims brought in this MDL pursuant to this Order.
 5   II.      MASTER PLEADINGS
 6            A.     MASTER COMPLAINT (PERSONAL INJURY)
 7            2.     Timing. Pursuant to Case Management Order No. 3 (“CMO-3”),3 the Plaintiffs’
 8   Steering Committee (PSC) filed a Plaintiffs’ Master Complaint (Personal Injury) (“Master
 9   Complaint”) on February 14, 2023.4
10            3.     Effect of Master Complaint. All claims pleaded in the Master Complaint will
11   supersede and replace all claims for personal injury in any action pending in this MDL. Nothing in
12   this Order shall preclude the PSC from seeking leave to amend the Master Complaint as provided
13   in the Federal Rules of Civil Procedure or preclude any Defendant from opposing such leave.
14            B.     SHORT-FORM COMPLAINT
15            4.     Attached as Exhibit A to this Order is a template form Short-Form Complaint
16   (“SFC”) for use by personal injury Plaintiffs in current and future-filed personal injury cases in this
17   MDL.
18            5.     The SFC is an abbreviated form that each individual Plaintiff will complete,
19   indicating their individual claims, the Defendants against whom they are bringing those claims, and
20   adopting the applicable factual allegations set forth in the Master Complaint as the basis for those
21   individual claims. Each Plaintiff who claims injury arising from their own use of Defendants’
22   platforms shall file a separate SFC setting forth their individual claims and injury. Plaintiffs
23   asserting loss of consortium claims as permitted by law; parents or guardians of a minor Plaintiff
24   as permitted by law; and in the event of a wrongful death action, the appropriate heirs or
25   representative(s) of the Estate may state their claims on the same SFC as the individual Plaintiff
26   whose use of Defendants’ platforms gives rise to their claims. By this process, all allegations
27
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28       Dkt. 111.
     4
         Dkt. 138.
                                                                    [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                    ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                        2         (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                       FILED CASES
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 1   applicable to the specific Defendants named in the SFC that are set forth in the Master Complaint
 2   shall be deemed pleaded against those Defendants.
 3             6.        For each such personal injury action, the Master Complaint (and any subsequent
 4   amendments) and the SFC (and any subsequent amendments) shall be deemed the Plaintiff’s
 5   operative Complaint.
 6             7.        Each SFC filed in this MDL proceeding shall indicate the federal district where the
 7   individual Plaintiff(s) originally filed or would have originally filed their Complaint.
 8             8.        The procedures for filing the Master Complaint and the SFC do not reflect that the
 9   Defendants have agreed to or admitted the allegations set forth in those pleadings, nor have the
10   Defendants conceded or waived their right to dispute the legal validity of the claims alleged therein.
11             9.        Timing and Effect of Filing Short Form Complaints
12                       a.     Complaints Transferred, or in the Process of Being Transferred, to this
13   MDL Before March 6, 2023: Any Plaintiff whose Complaint was transferred to this MDL or was in
14   process of being transferred to this MDL before March 6, 2023 (the date of filing of the original version

15   of this Order) must file a SFC in their individual case by April 4, 2023, referencing their individual

16   docket number, to avoid the triggering of a filing fee.5 For purposes of statutes of limitations and statutes

17   of repose, any such Plaintiff shall be deemed to have filed their complaint as of the date they filed their

18   original complaint, and not the date of the Master Complaint or the date they filed the SFC. Nothing

19   in this Order or the filing of a SFC shall be construed as a prior dismissal or amendment of a prior

20   complaint, but the prior complaint shall no longer be deemed the operative complaint.

21                       b.     All Other Personal Injury Complaints
22                  i.   Direct Filed cases: All Personal Injury Plaintiffs must file their SFC electronically
23   in this MDL. The Court refers Plaintiffs’ counsel to Case Management Order No. 4 – Direct Filing
24   Order (“CMO-4”),6 which is incorporated herein and should be reviewed and followed. For
25   purposes of statutes of limitations and statutes of repose, any such Plaintiff shall be deemed to have
26   filed their Complaint as of the date they filed their Short Form Complaint and not the date of the
27
     5
28       See Dkt 111, at para 3.
     6
         Dkt. 119.
                                                                       [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                       ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                           3         (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                          FILED CASES
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 1   Master Complaint, except that, for any Plaintiff who filed a Personal Injury Complaint in this MDL
 2   pursuant to CMO-4 before March 8, 2023 (the date the original version of this Order was entered),
 3   the date on which they filed such Complaint shall be the relevant date.
 4             ii.   Transferred cases: Any Plaintiff whose case becomes part of this MDL after March
 5   6, 2023 (the date of filing of the original version of this Order) by transfer from another district or
 6   from another judge in this district must file a SFC within 20 days from the date of transfer or, if
 7   originally filed in this district, from the date of assignment to this Court. For purposes of statutes
 8   of limitations and statutes of repose, any such Plaintiff shall be deemed to have filed their Complaint
 9   as of the date they filed their original Complaint in a different judicial district or in this district and
10   not the date of the Master Complaint or the date they filed their Short Form Complaint.
11                   c.      No Multi-Plaintiff Personal Injury Complaints. Each Plaintiff must have an

12   individual complaint on file. Any Plaintiff who asserts personal injury claims in a multi-plaintiff

13   complaint that is pending or that is subsequently transferred to this MDL must file an individual SFC

14   by April 4, 2023, or 20 days from the date that the Court posts the applicable Transfer Order on its

15   docket. This provision does not apply to Personal Injury Plaintiffs asserting loss of consortium claims

16   as permitted by law; parents or guardians of a minor Plaintiff as permitted by law; and in the event
17   of a wrongful death action, the appropriate heirs or representative(s) of the Estate.
18   III.    RESPONSE TO MASTER COMPLAINT AND SHORT-FORM COMPLAINTS
19           10.     To eliminate potential delays and to promote judicial efficiency with respect to the
20
     administration of this MDL proceeding, all SFCs filed in this MDL proceeding are deemed
21
     answered and denied, without waiver of any defense or right to move to dismiss, and with full
22
     preservation of all arguments and defenses that may be raised in any responsive pleading that may
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24   be required by future order of the Court or motion to dismiss.

25   IV.     SERVICE OF PROCESS

26           A.      SERVICE OF PROCESS OF NEWLY NAMED DEFENDANTS
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28
                                                                      [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                      ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                          4         (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                         FILED CASES
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 1             11.    Plaintiffs may file an action against any Defendant not named in the current Master
 2   Complaint (“Newly Named Defendants”) directly in the MDL by using the SFC7 and the Master
 3
     Complaint which is deemed adopted into any filed SFC.
 4
               12.    By this Order, Plaintiffs who name any “Newly Named Defendant” in their SFC may
 5
     effectuate service of process on each “Newly Named Defendant” by serving the following upon each
 6

 7   Newly Named Defendant named in the SFC, in accordance with Rule 4 of the Federal Rules of Civil

 8   Procedure:

 9                   a. a copy of the Master Complaint;
10
                     b. the SFC;
11
                     c. a copy of this Order, and,
12
                     d. a Summons.
13
               13.    To the extent Plaintiffs name Meta Platforms Technologies, LLC, Meta Payments,
14

15   Inc., or Whatsapp Inc. as Newly Named Defendants, the entities agree to waive formal service of

16   summons pursuant to Rule 4 of the Federal Rules of Civil Procedure. Service shall be effectuated
17   pursuant to the Section IV.B of this Order.
18
               14.    The right of Defendants and “Newly Named Defendants” to challenge jurisdiction
19
     and venue are hereby preserved and explicitly not waived by Plaintiffs’ direct filing of SFCs.
20

21             B.     SERVICE OF PROCESS WAIVER OF THE DEFENDANTS NAMED IN
22                    THE CURRENT MASTER COMPLAINT

23             15.    CMO-4, Section II (G) is amended as follows: For SFCs that are properly filed in

24       this MDL, the Defendants listed below agree to waive formal service of summons pursuant to Rule
25       4 of the Federal Rules of Civil Procedure. Please note that a Plaintiff that is serving a SFC,
26
         Summons, and Civil Cover Sheet is not required to serve a copy of the Master Complaint by e-
27

28
     7
         See para. 10 of the SFC.
                                                                   [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                   ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                        5        (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                      FILED CASES
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 1   mail upon the currently named Defendants. Service upon the following entities will be deemed
 2   complete upon providing copies of the SFC, Summons, and Civil Cover Sheet:
 3
               DEFENDANTS                                  SERVICE E-MAIL ADDRESS
 4
      Meta Platforms, Inc., formerly MetaNoticeofService@cov.com
 5    known as Facebook Inc.
 6    Instagram, LLC
 7    Facebook Operations, LLC
 8
      Facebook Payments, Inc.
 9
      Siculus, Inc.
10
      Meta Platforms Technologies, LLC
11
      Meta Payments, Inc.
12
      Whatsapp Inc.
13
      Snap Inc.                             SnapNoticeofService@mto.com
14

15                                          TikTokNoticeofService@faegredrinker.com

16    ByteDance, Inc.

17    TikTok, Inc.

18    ByteDance Ltd.

19    TikTok Ltd.
20    TikTok LLC
21

22                                          SERVICE-YOUTUBE-
      YouTube, LLC
                                            INRESOCIALMEDIAM@LIST.WSGR.COM
23
      Google LLC
24

25

26
            16.       Defendants’ e-mail systems will generate an automated response to the sender upon
27
     receipt of an e-mail to each of the designated addresses. The automated response will confirm
28
                                                                  [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                  ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                       6        (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                     FILED CASES
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 1   receipt of the e-mail to that e-mail address and shall constitute proof of service upon the Defendants
 2   who have agreed to service at that e-mail address per this Order. Defendants will not otherwise
 3   respond to e-mails sent to the above e-mail addresses. Plaintiffs shall make proof of electronic
 4   service to the Court as required by Rule 4(l)(1) of the Federal Rules of Civil Procedure. For all
 5   SFCs filed in, removed to, or transferred to this MDL: (i) all requests for issuance of summons shall
 6   be made in the underlying constituent case, and not through the MDL Master Docket File; (ii) all
 7   proofs of service shall be filed only in the underlying constituent case and not in the MDL Master
 8   Docket File. Acceptance of electronic service shall not constitute a waiver of any defense.
 9          IT IS SO ORDERED,
10
             June_6______,
     Dated: ____  5        2023
11
                                                            _______________________________
12                                                          YVONNE GONZALEZ ROGERS
                                                            UNITED STATES DISTRICT JUDGE
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                                                                   [PROPOSED] AMENDED STIPULATED IMPLEMENTATION
                                                                   ORDER GOVERNING ADOPTION OF MASTER COMPLAINT
                                                        7        (PERSONAL INJURY) AND SHORT-FORM COMPLAINTS FOR
                                                                                                      FILED CASES
